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                                                                 EXHIBIT 1: OCP LIST1



Tier Two:

       The Debtors propose to pay each OCP falling under Tier Two (each a “Tier Two OCP”), without formal application to the
Court by an OCP individually, 100% of fees for services rendered to the Debtors on or after the Petition Date, and associated costs and
disbursements, provided that each Tier One OCP’s fees, excluding costs and disbursements, do not exceed $50,000 per month (the
“Monthly Cap”), $50,000 per project (the “Project Cap”), in the case of OCPs who customarily bill by project, or $350,000 per
calendar year (the “Annual Cap”) while these chapter 11 cases are pending. The Tier Two OCPs are:



Name                                         Address                                                                   Service
Baker & McKenzie LLP                         Brookfield Place                                                          Corporate legal services
                                             181 Bay Street, Suite 2100
                                             Toronto, Ontario M5J 2T3

Baker & McKenzie LLP                         Edificio Scotiabank Inverlat, Piso 12                                     Corporate legal services
                                             Blvd. M. Avila Camacho 1
                                             Col. Lomas de Chapultepec
                                             11009 Mexico, D. F., Mexico

Berkemeyer Advogados                         Edifico Jacaranda 4to Piso                                                Corporate legal services
                                             Benjamin Constant 835
                                             Asuncion, Paraguay

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         Various professionals have provided services to Nortel entities in the ordinary course, and in some cases a single firm may provide services to multiple
Nortel affiliates. Out of an abundance of caution, the Debtors have prepared a comprehensive list of OCPs. As a result, certain of the OCPs included on this list
may have rendered services to the Canadian Debtors in addition to the Debtors in these chapter 11 cases. However, the OCPs listed herein provide professional
services to the Debtors and the Debtors will pay such OCPs only for services rendered to the Debtors.


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Bustamante & Bustmante            Ave. Patria y Ave. Amazonas                              Corporate legal services
                                  Edificio Cofiec 10 mo. Piso
                                  Quito, Ecuador

Cruzat, Ortuzar & MacKenna Ltd.   Nueva Tajamar 481                                        Labor/employment legal services
                                  Torre Norte, Piso 21
                                  Las Condes, Santiago
                                  Chile

Gomez-Pinzon Zuleta               Calle 67 #7-35 Of. 1204                                  Corporate legal services
Abogados S.A.                     Bogota, Colombia

Jimenez De Arechaga               Zabala 1504                                              Corporate legal services
Viana & Brause                    Montevideo, CP 11.000
                                  Uruguay

Lex Carribbean                    P.O. Box 1165                                            Trinidadian legal services
                                  First Floor
                                  5-7 Sweet Briar Road
                                  St. Clair, Port of Spain
                                  Trinidad, West Indies

Machado, Meyer,                   Rua da Consolacao, 247, 10 Andar                         Corporate legal services
Sendacz E Opice                   CEP 01301-903, Sao Paulo, SP
                                  Brazil

Pinheiro Guimaraes Advodados      Ave. Rio Branco 181, 27 Andar                            Tax, labor legal services
                                  20040-918 Rio de Janeiro, RJ
                                  Brazil

Prieto & Carrizosa S.A.           Cra. 9, No. 74-08, Of. 305                               Corporate legal services
                                  Bogota, Colombia

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Severgnini, Robiola, Grinberg       Reconquista 336 Piso 2                             Corporate legal services
& Larrechea Abogados                C1003ABH Buenos Aires
                                    Argentina




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